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 12                     CENTRAL DISTRICT OF CALIFORNIA
 13
       IN RE: NATIONAL FOOTBALL                 Case No.: 2:15-ml-02668−PSG
 14
       LEAGUE’S “SUNDAY TICKET”                 (JEMx)
 15    ANTITRUST LITIGATION
 16                                             STATEMENT OF GENUINE
 17                                             ISSUES AND ADDITIONAL
                                                UNDISPUTED FACTS IN
 18
       THIS DOCUMENT RELATES TO                 SUPPORT OF PLAINTIFFS’
 19    ALL ACTIONS                              OPPOSITION TO THE NFL
 20                                             DEFENDANTS’ MOTION FOR
 21                                             SUMMARY JUDGMENT

 22
                                                JUDGE: Hon. Philip S. Gutierrez
 23

 24                                             DATE: October 27, 2023
 25                                             TIME: 1:30 p.m.
                                                COURTROOM: First Street Courthouse
 26
                                                             350 West 1st Street
 27                                                          Courtroom 6A
 28                                                          Los Angeles, CA 90012
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       145. The NFL clubs meet at least once per year for Leckman Decl. Ex. 1 (NFL
  7    an Annual Meeting, which “shall be held not earlier Const.) § 5.1.
  8    than the second Monday in February of each year and
  9    not later than April 1 in such year.”

 10
       146. The NFL Clubs may also meet for “special Leckman Decl. Ex. 1 (NFL
 11    meetings,” which “may be held at any place upon call Const.) § 5.2.
 12    by the Commissioner.”
 13
       147. At all meetings of the NFL Clubs, “whether Leckman Decl. Ex. 1 (NFL
 14
       Annual or Special, three-fourth or 20, whichever is Const.) § 5.4.
 15
       greater, of the members of the League in good
 16    standing, present in person or by authorized
 17    representatives, shall constitute a quorum for the
       transaction of business.”
 18

 19
       148. At all meetings of the NFL Clubs, in general, Leckman Decl. Ex. 1 (NFL
 20    “the affirmative vote of not less than three-fourths or Const.) § 5.6.
 21    20, whichever is greater, of the members of the
 22
       League at any Annual Meeting of the League shall be
       required for action.”
 23

 24    149. “The Commissioner shall have authority to Leckman Decl. Ex. 1 (NFL
 25    arrange for and negotiate contracts on behalf of the Const.) § 8.10.
 26    League with other persons, firms, leagues, or
       associations; provided, however, that except in
 27
       instances where the Commissioner is otherwise
 28    specifically authorized herein, any contract involving
                                           95
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  8    151. Prior to 1961, the right to telecast football
  9    games was owned and controlled by the individual
       NFL Clubs.
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  17
        152. Prior to 1961, individual NFL Clubs
  18
        independently licensed the telecasts of their games to
  19
        television networks.
  20

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  27
        153. Prior to 1961, the NFL and the NFL Clubs
  28    discussed how the antitrust laws limited their ability
                                               100
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   1
        to restrain the NFL Clubs from selling the broadcast
        rights to their games.
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   4    154. The Minutes of the 1951 Annual Meeting of the
   5    NFL Clubs state

   6

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   9    155. The Minutes of the 1951 Annual Meeting of the
        NFL Clubs state
  10

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  13    156. The Minutes of the 1951 Annual Meeting of the
        NFL Clubs state
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  21    157. The Minutes of the 1951 Annual Meeting of the
  22
        NFL Clubs state

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  25    158. The Minutes of a 1951 special meeting of the
  26    NFL Clubs, held on March 27, 1951, state

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   3    159. In 1951, the NFL Clubs amended their
   4    Constitution and bylaws to adopt Article X.
   5

   6

   7                                                         See also In re NFL Sunday
   8                                                         Ticket, 933 F.3d at 1144.
   9
        160. The Ninth Circuit stated that, in Article X, “the In re NFL Sunday Ticket,
  10
        NFL required each NFL team to agree to minimize 933 F.3d at 1144.
  11    competition by refraining from telecasting its games
  12    into another team’s local market whenever that local
  13    team was either playing at home or broadcasting its
        away game in its local territory.”
  14

  15
        161. The Department of Justice (“DOJ”) sued the      United States v. Nat’l
  16    NFL to enjoin the limitations on television-         Football League, 116 F.
  17    broadcasting competition among the NFL Clubs         Supp. 319, 326–27 (E.D.
        imposed by Article X.                                Pa. 1953) (“NFL I”)
  18

  19

  20    162. The United States District Court for the Eastern NFL I, 116 F. Supp. at
  21    District of Pennsylvania enjoined in 1953 the NFL 326–30.
  22
        Clubs and the NFL from executing broadcast
        agreements that restrict “the sale of rights for the
  23
        telecasting of out-side games in club’s home territory
  24    on a day when the home club is permitting the telecast
  25    of its away game in its home territory.”
  26
        163. The NFL did not appeal that 1953 injunction NFL I, 116 F. Supp. at
  27
        (“NFL I injunction”).                            326–30
  28

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   1
        164. In 1973, findings of Congress state that, “[b]y H.R. Rep. No. 93-483 at 4
        the late 1950s, eleven individual teams had signed (1973).
   2
        contracts with [CBS]; two teams—Baltimore and
   3    Pittsburgh—had signed contracts with [NBC]; and
   4    one team—Cleveland—had organized its own
   5
        network.”

   6
        165. The Minutes of the 1954 Annual Meeting of the
   7    NFL Clubs state
   8

   9

  10

  11    166. In 1973, findings of Congress state that, “For a H.R. Rep. No. 93-483 at 4
  12    number of years after the 1953 [NFL I injunction], the (1973).
  13    broadcasting practices of the member clubs of the
        National Football League stabilized.”
  14

  15
        167. The Minutes of a January 1960 special meeting
  16    of the NFL Executive Committee, made up of
  17    representatives from NFL Clubs, state
  18

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  24    168. The Minutes of the 1960 Annual Meeting of the
  25    NFL Clubs state
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   1
        169. The Minutes of the 1960 Annual Meeting of the
        NFL Clubs state
   2

   3

   4    170. The Minutes of the 1960 Annual Meeting of the
   5    NFL Clubs state

   6

   7

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   9
        171. The Minutes of a subsequent special meeting of
  10
        the NFL Clubs state
  11

  12

  13

  14
        172. The Minutes of a subsequent special meeting of
  15
        the NFL Clubs state
  16

  17                                                            .
  18
        173. The Minutes of the 1960 Annual Meeting of the
  19
        NFL Clubs state
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   1
        174. As of 1960, the NFL Clubs and the NFL did not

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   5    175. The Minutes of the 1960 Annual Meeting of the
        NFL Clubs state
   6

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  10
        176. The Minutes of the 1961 Annual Meeting of the
  11    NFL Clubs state
  12

  13

  14

  15
        177. The Minutes of the 1961 Annual Meeting of the
  16    NFL Clubs state
  17

  18

  19

  20    178. In 1961, the NFL filed a petition with the            United States v. Nat’l
  21    United States District Court for the Eastern District of   Football League, 196 F.
  22
        Pennsylvania that requested it approve a television        Supp. 445 (E.D. Pa. 1961)
        contract between the NFL and CBS for the broadcast         (NFL II).
  23
        of the NFL Clubs’ games.
  24

  25    179.
  26

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   1
                                                             NFL II, 196 F. Supp. 445,
                                                             446-47.
   2

   3    180. The United States District Court for the Eastern NFL II, 196 F. Supp. 445,
   4    District of Pennsylvania stated: “[NFL] Defendants 447.
   5    concede that the 1961 NFL-CBS contract marks a
        basic change in National Football League television
   6
        policy. Prior to this contract each member club
   7    individually negotiated and sold the television rights
   8    to its games to sponsors or telecasters with whom it
   9    could make satisfactory contracts. The NFL-CBS
        contract sharply departs from this practice. It is
  10
        implicit in the 1961 contract that the member clubs
  11    have agreed among themselves and with the League
  12    that each club will not sell its television rights separate
  13    and apart from those of the other clubs, but that each
        club will pool its television rights with those of all of
  14
        the other clubs, and that only the resulting package of
  15    pooled television rights will be sold to a purchaser.
  16    The clubs authorized the Commissioner of the League
  17    to sell this package of pooled television rights, and
        under the provisions of the 1961 contract with CBS he
  18
        sold it. Thus, by agreement, the member clubs of the
  19
        League have eliminated competition among
  20    themselves in the sale of television rights to their
  21    games.”
  22
        181. The United States District Court for the Eastern NFL II, 196 F. Supp. 445,
  23
        District of Pennsylvania stated that, “As [NFL] 447.
  24    defendants state in their petition for construction:
  25    ‘Said contract provides that the network (CBS) shall
  26
        have the right to determine, entirely within its own
        discretion without consulting the Commissioner or
  27
        any club of the League which games shall be telecast
  28    and where such games be televised.”
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   1
        182. The United States District Court for the Eastern NFL II, 196 F. Supp. 445,
   2
        District of Pennsylvania held “[c]learly this provision 447.
   3    restricts the individual clubs from determining ‘the
   4    areas within which … telecasts of games … may be
   5    made,’ since [NFL] defendants have by their contract
        given to CBS the power to determine which games
   6
        shall be telecast and where the games shall be
   7    televised.”
   8

   9    183. The United States District Court for the Eastern NFL II, 196 F. Supp. at 447
        District of Pennsylvania issued a second injunction
  10
        (the 1961 NFL II injunction), enjoining the
  11    implementation of the pooled rights contract between
  12    NFL and CBS.
  13
        184. The NFL did not appeal the 1961 NFL II In re NFL Sunday Ticket,
  14
        injunction; rather, it lobbied Congress to exempt the 933 F.3d at 1146
  15
        pooling of the NFL Clubs’ broadcast rights from the
  16    antitrust laws.
  17
        185.
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        186. The NFL is now “authorized to negotiate on Answer       to Amended
        behalf of the NFL member clubs for the collective Complaint, Dkt. 442, ¶ 81.
  23
        licensing and distribution of rights to broadcast NFL
  24    games.”
  25

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        191. The NFL has entered into those agreements
   6
        on behalf of the NFL member clubs.
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        192. The NFL-Network agreements provide that
  15    there are only two windows during the day each
  16    Sunday during which CBS or Fox may broadcast
  17    professional football games.
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        193. The NFL-Network agreements provide that
   6
        CBS and Fox may make only one NFL telecast
   7    available over-the-air during each Sunday
   8    daytime window.
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   3    194. The NFL-Network agreements provide that
   4    no more than two NFL telecasts can be broadcast
   5    over-the-air at the same time.

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        195. The most recent agreements between the
  24    NFL and CBS require
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   6
        196. Each week during the NFL regular season See, e.g., NFL 2022 Week 1
   7    period, there are 13 to 16 games played.     Schedule, available at nfl.com
   8                                                 /schedules/2022/reg1.
   9

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                                                                                  .
  15

  16    197. During the NFL regular season, 10 to 13
  17    games are played in one of the two Sunday
        daytime windows.
  18

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  22
        198. No game broadcast by Fox or CBS on
  23
        Sunday afternoon is a national broadcast; instead,
  24    games occurring in the two Sunday daytime
  25    windows are broadcast regionally.
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        199. In a typical week during the NFL regular
  14
        season, of the 10 to 13 games that are played in
  15    the two Sunday-afternoon windows, most
  16    consumers will be able to watch just 3 of them
  17    over the air.
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        200. In a typical week during the NFL regular
  27
        season, 10 Sunday daytime games are not
  28    broadcast over-the-air in most television markets.
                                               117
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   1
                                                         Compare NFL 2022 Week 1
                                                         Schedule,     available   at
   2
                                                         nfl.com/schedules/2022/REG1
   3                                                     (13 games played Sunday
   4                                                     afternoon) with
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  12    201. The NFL-Network       agreements    place
  13    limitations

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        202. The CBS and Fox agreements state
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   1
        203. The current NFL-CBS Sunday broadcast
        agreement provides
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   5
        204. The current NFL-Fox Sunday broadcast
   6
        agreement provides
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        205. Brian Rolapp testified
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   3    209. The NFL-DIRECTV agreements operative
   4    during the class period provide
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  12    210. The NFL-DIRECTV agreements operative
  13    during the class period provide

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  21    211. The NFL-DIRECTV agreements operative
  22
        during the class period require

  23

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  26    212. In 1994, the NFL entered into an exclusive
        agreement with DirecTV to distribute the out-of-
  27
        market NFL games.
  28

                                              122
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   1
        213. That product was and is called NFL Sunday
        Ticket.
   2

   3

   4    214. The NFL exclusively distributed those out-
   5    of-market games through DirecTV from 1994
        through the end of the 2022–23 football season.
   6

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  12    215. To subscribe to NFL Sunday Ticket on
  13    DirecTV, most consumers must first subscribe to
        DirecTV’s satellite service.
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        216.
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        217. During the class period, the list price for
  23
        NFL Sunday Ticket on DirecTV for residential
  24    customers ranged from $199 to $396.
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   3    218. Beginning in the 2023 season, the
   4    residential Sunday Ticket package will only be
   5    available via YouTube.

   6
        219. The price of NFL Sunday Ticket on              Pricing for Sunday Ticket on
   7    YouTube has been advertised as $349 to $389 for     YouTube TV for the upcoming
   8    YouTube TV subscribers and between $449 and         season is available, e.g., at
   9    $489 for non-YouTube TV subscribers.                https://tv.youtube.com/learn/nf
                                                            lsundayticket/
  10
        220. During the class period, the NFL and the
  11    NFL Clubs have received approximately
  12    billion from DirecTV for the rights to the Sunday
  13    Ticket package.
  14

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  27         E.    The NFL’s Role in Limiting the Output of NFL Sunday Ticket
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  17    246. Bidders for the rights to Sunday Ticket
        beginning in the 2023 season expressed concern
  18
        about Sunday Ticket’s high price
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        247. Apple produced a document
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  16    248.
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  21    249.
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  26
        250. Apple produced a document
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   3    251.
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  17    252. Goldman Sachs produced a document
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        253.

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        254.
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                                           135
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   1
        Ticket. These arrangements result in substantial
        injury to competition[.]”
   2

   3    258. Plaintiffs’ memorandum in opposition to See, e.g., Dkt. 184, at 1, 6, 8,
   4    the NFL Defendants’ motion to dismiss states:    21 n.21 (filed September 22,
   5                                                     2016).
        “They are challenging agreements that restrain
   6
        competition with Sunday Ticket and the telecasts
   7    it includes.”
   8

   9    “If Sunday Ticket were available more broadly,
        more consumers would be able to choose to watch
  10
        games other than those shown on local networks,
  11    which would make the OTA broadcasts less
  12    valuable. That is why networks have insisted on
  13    limiting the availability of Sunday Ticket.”

  14
        “Ultimately, the core agreements at issue are not
  15    to manipulate the market in rights, but to limit the
  16    availability of telecasts at the consumer level. The
  17    NFL Defendants have secured agreements from
        Fox and CBS to distribute only one of the games
  18
        they produce at a given time on local television,
  19
        and that only three such games will be available
  20    OTA.”
  21
        “Plaintiffs have alleged a conspiracy between a
  22
        horizontal combination (the NFL teams) and
  23
        other market levels, which restrains competition
  24    between Sunday Ticket and other NFL
  25    programing in a way that raises Sunday Ticket
        prices, restrains viewership of out-of-market
  26
        games, and increases the profits of the teams, the
  27
        networks that carry OTA games, and, of course,
  28    DirecTV.”
                                                 137
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   1
        259. Plaintiffs opening brief to the ninth circuit   Leckman Decl. Ex. 42
   2
        states: “Plaintiffs’ Consolidated Amended            (Plaintiffs’ opening Ninth
   3    Complaint (‘CAC’) alleges that the National          Circuit brief), at 1, Ninth
   4    Football League (‘NFL’), its member teams, and       Inning, Inc., et al., v. DirecTV,
   5    DirecTV, along with various television networks,     LLC, et al., No. 17-56119 (9th
        have entered into a set of agreements that,          Cir. 2018).
   6
        working together, suppress competition for the
   7    sale of professional football game telecasts in
   8    violation of Sections 1 and 2 of the Sherman
   9    Act[.]”

  10
        260. Plaintiffs’ Opening Brief to the Ninth          Leckman Decl. Ex. 42
  11    Circuit states: “Agreements Between the NFL,         (Plaintiffs’ opening Ninth
  12    Television Networks, and DirecTV Artificially        Circuit brief), at 3, Ninth
  13    Limit the Availability of Professional Football      Inning, Inc., et al., v. DirecTV,
        Telecasts.”                                          LLC, et al., No. 17-56119 (9th
  14
                                                             Cir. 2018).
  15

  16    261. Plaintiffs’ Opening Brief to the Ninth          Leckman Decl. Ex. 42
  17    Circuit states: “To protect these local telecasts    (Plaintiffs’ opening Ninth
        from the other NFL telecasts, the NFL and            Circuit brief), at 5, Ninth
  18
        networks agreed that all other Sunday-afternoon      Inning, Inc., et al., v. DirecTV,
  19
        games will be available nationally only through a    LLC, et al., No. 17-56119 (9th
  20    limited, non-basic, subscription service.”           Cir. 2018).
  21

  22
        262. Plaintiffs’ Opening Brief to the Ninth          Leckman Decl. Ex. 42
        Circuit states: “The agreements are designed to      (Plaintiffs’ opening Ninth
  23
        work together to benefit DirecTV, the networks,      Circuit brief), at 6–7, Ninth
  24    and the NFL—at consumers’ expense. They              Inning, Inc., et al., v. DirecTV,
  25    benefit the NFL and its teams because distributors   LLC, et al., No. 17-56119 (9th
  26    will pay more for exclusive rights. They benefit     Cir. 2018).
        the two networks because DirecTV’s exclusivity
  27
        and high pricing limit the universe of potential
  28    subscribers to Sunday Ticket. The networks (and
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   1
        their local affiliates) are thus protected from
        competition from other potential providers of
   2
        Sunday telecasts, enabling them to raise the prices
   3    they charge advertisers and distributors. II-ER-
   4    53-54 (CAC ¶¶11, 12). And just as DirecTV’s
   5
        suppression of output protects the networks, the
        limitation on over-the-air telecasts to just two or
   6
        three games protects DirecTV, allowing it to
   7    charge supracompetitive prices for both Sunday
   8    Ticket and its standard programming.”
   9
        263. Plaintiffs’ Second Consolidated Amended Dkt. 441 ¶ 8 (filed March 23,
  10
        Complaint states: “This exclusive deal [between 2022).
  11    the NFL and DirecTV], along with other
  12    contractual arrangements between the NFL, its
  13    member teams, and DirecTV, as well as Fox,
        ESPN, CBS, and NBC (collectively, the
  14
        “Networks”), results in the blackout or
  15    unavailability of out-of-market games, except
  16    through the bundled NFL/DirecTV Sunday
  17    Ticket. These arrangements result in substantial
        injury to competition[.]”
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       Dated: August 28, 2023            Respectfully submitted,
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